                                                                           ORDER:
                                                                           Motion granted. The
                                                                           arraignment is set for
                        IN THE UNITED STATES DISTRICT COURT                Wednesday, June 26, 2013,
                            MIDDLE DISTRICT OF TENNESSEE                   at 9:45 a.m


 UNITED STATES OF AMERICA, )
                           )
 v.                        )                 Case No. 3:13-00090(5)     U.S. Magistrate Judge
                           )                 (Magistrate Judge Knowles)
 JOSEPHINA LOPEZ-LAJUJ.    )

                      MOTION TO CONTINUE 6/25/13 ARRAIGNMENT

        Comes the Defendant, through counsel, and moves the Court to continue the
 arraignment set in this matter for Tuesday, 6/25/13 at 10:30. (D.E. 44)

        Counsel for the Defendant mis-calendared the arraignment as scheduled for
 Wednesday, 6/26/13 instead of the correct dated of Tuesday, 6/25/13. In reviewing this
 week’s work this morning, undersigned counsel realized his error. Unfortunately
 undersigned counsel has multiple cases scheduled in Giles County Circuit Court all day
 on 6/25/13, which cannot be reasonably rescheduled until 30 days later – and which were
 continued 30 days last month due to counsel being in trial in Judge Campbell’s court.

        Counsel accordingly moves the Court to continue the arraignment in this matter to
 any time on 6/26/13, 6/27/13, 6/28/13, 7/1/13 (not later than 3:00), 7/3/13, or 7/5 13.

 Respectfully submitted,

 s/ Hershell Koger
 Hershell Koger
 P.O. Box 1148 Pulaski, TN 38478
 (931) 424-0882
 kogerlaw@hotmail.com

                        CERTIFICATE OF SERVICE
 I CERTIFY THAT ON 6/24/13, 2011 I ELECTRONICALLY FILED THE
 FOREGOING MOTION TO CONTINUE ARRAIGNMENT WITH THE CLERK
 OF THE COURT BY USING THE CM/ECF SYSTEM, WHICH WILL SEND A
 NOTICE OF ELECTRONIC FILING TO THE FOLLOWING:

 Hilliard H. Hester, AUSA
 110 NINTH AVE., SOUTH
 SUITE A961
 NASHVILLE, TN 37203

 s/ Hershell Koger
 Hershell Koger	  




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